                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAd~AI~E


In re:                                                         Chapter 11

 M & G tJSA CORPORATION,et al.,l                               Case No. 17- 12307(BLS)
                   Debtors.                            ~       (Jointly Administered)


                   DEBTORS'SECOND OMNIBUS OBJECTION
         (SUBSTANTIVE)TO RECLASSIFY CERTAIN MISCLASSIFIED CLAIMS

    ANY PARTY RECEIVING THIS OMNIBUS OBJECTION TO CLAIMS SHOULD
   LOCATE THEIR NAMES AND THEIR CLAIMS)IN THE ATTACHED EXHIBIT.
   YOUR SUBSTANTIVE RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND
      BY ANY FURTHER OBJECTION THAT MAY BE FILED AGAINST YOUR
                              CLAIMS)


         The above-captioned debtors and debtors-in-possession (collectively, the "Debtors")

hereby object (this "Objection"), pursuant to sections 105 and. 502(b) oftitle 11 of the United

States Code (the "Banlcruptcv Code"), Rule 3007 of the Federal Rules of Bankruptcy Procedure

(the "Bankruptcy Rules") and Rule 3007-1 of the Local Rules ofPractice and Procedut~e for this

Court(the "Local Rules"), and seek the entry of an order, in substantially the form attached

hereto as exhibit A (the "Proposed Order"), reclassifying certain misclassified claims to the

classifications set forth under the column labeled "Modified Classification Status" in E~ibit 1 to

the Proposed Order. In support of this Objection, the Debtors submit the Declaration ofDennis




          1       The Debtors are the following twelve entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA,LLC(3236),
M & G Polymers USA,LLC(7593), M & G Finance Corporation (4230), M&G Waters USA,LLC(2195), Mossi &
Ghisolfi International S.a r.l. (1270), M&G Chemicals S.A.(N/A), M&G Capital S.a r.l. (7812), M & G USA
Holding, LLC (3451), Chemtex International Inc.(7695), Chemtex Far East, Ltd.(2062) and Indo American
Investments, Inc.(9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.



NAI-1504285217v6
Stogsc~ill in Support ofthe Debtors'Second Omnibus Objection to Claims(the "Stogsdill

Decl~rali~rY"), attached het•eto as Exhibit B, and respectfully represcnt as follows:

                                    3URISl?ICTION AN~3 VENITE

        1.          This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            BACKGROUND

        A.          General Background

        2,          On October 24, 2017(the "Polymers Petition Date"), Debtor M&G Polymers

USA,LLC("M&G Polymers") filed a voluntary petition for relief under chapter 11 of the

Bankruptcy Code and, thereafter, on October 30, 201.7 (the "Petition Date"), each of the other

Debtors commenced chapter 11 cases before this Court(together with the chapter 11 case of

M&G Polymers, the "Cases"). The Debtors are continuing in possession oftheir• properties and

are managing their businesses, as debtors in possession, pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

         3.         An Official Committee of Unsecured Creditors (the "Committee") was appointed

in these Cases on November 13, 2017(Docket No. 146). Additional information regarding the

Debtors and these Cases, including the Debtors' businesses, corporate structure and financial

condition, is set forth in the DeclaNation ofDennis Stogsdill in Support ofFiNst Day Pleadings

(Docket No. 3)(the "First Day Declaration"), filed on October 31, 2017 and incorporated herein

by reference.

         4.         On September 5, 201 S, all of the Debtors other than Mossi & Ghisolfi

Itlternational S.a r.l.; M&G Chemicals S.A,and M&G Capital S.a r.L filed the Joint Plana of

Liquidation ofthe U.S. DebtoNs and Debtors zn Possession (Docket No. 1812)(as it may be

                                                     -2-
NAI-I 504285217v6
modified, amended or supplemented, the "Plan") and related Disclosure Statementfor Joint Plan

ofLiyuiclutiort oftlae U.S. DeUto~^s arad Debtof~s in Possessio~z(Docket No. 1813).

        B.      The Schedules and the Bar Dates

        5.          On January 22 and 23, 2018, the Debtors filed their respective Schedules of

Assets and Liabilities and Statement of Financial Affairs (see Docket Nos. 734-760)

(collectively, the "Schedules"). The Debtors subsequently amended the Schedules on

January 25, 2018 (see Docket Nos. 778; 780-790) and on August 15, 2018, Debtor Chemtex

International Inc, amended its Schedule E/F (see Docket No. 1764).

        6.          On February 27, 2018, the Court entered the Order (I) Establishing Bar Datesfor^

Filing .Claims and (II) Approving the Form and ManneN ofNotice Thereof(Docket No. 1053)

(the "Bar Date Order"). Among other things, the Bar Date Order established (i) April 5, 2018 as

the deadline by which any person or entity holding a claim against the Debtors that arose or was

deemed to have arisen prior to the Polymers Petition Date in the case of claims against

M&G Polymers, or the Petition Date in the case of claims against all other Debtors, was required

to file a proof of claim in these Cases (the "General Bar Date");(ii) April 30, 2018 as the

deadline by which any government unit(as such term is defined in section 101(27) of the

Bankruptcy Code) holding a claim against the Debtors that arose or was deemed to have arisen

prior to the Polymer Petition Date or the Petition Date, as applicable, was required to file a proof

of claim in these Cases; and (iii) May 9, 2018 as the deadline by which union members, retirees,

employees or former employees were required to file any claim arising under any collective

bargaining agreement between the United Steel, Paper and Forestry, Rubber, Manufacturing,




                                                    -3-
 NAI-1504285217v6
Energy Allied Industrial and Service Workers International Union and the Debtors, including

any claim related to r~ietlical or other healthcai°e benefts.~

           7.       On Apri126, 2018, the Court entered the ONder (I) Establishing an Admznist~ative

Bar Date and (II) Approving the Form and Manner ofNotice Thereof(Docket No. 1410)

(the "Interim Administrative Bar Date Order"). Among other things, the Interim Administrative

Bar Date Order established June 11, 2018 (the "Interim Administrative Bar Date") as the

deadline by which any person or entity that held or wished to assert, as to or against the Debtors,

(i) any right to payment, whether or not such right is reduced to judgment, liquidated,

unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,

secut~ed or unsecured or (ii) any right to an equitable remedy for breach of performance if such

breach gives rise to a payment, whether or not such right is reduced to judgment, liquidated,

unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,

secured or unsecured,provided that such right to payment(a) arose under section 503(b) ofthe

Bankruptcy Code and (b) first arose on or after(1)the Polymers Petition Date in the case of

claims against M&G Polymers or(2)the Petition Date in the case of claims against all other

Debtors (each such claim, an "Administrative Claim"). The Interim Administrative Bar Date

applies only to Administrative Claims arising on or before May 1, 2018, and the Debtors

anticipate establishing a final Administrative Claims' bar date pursuant to the Plan, subject to

approval of the Court.




         z        In addition, the Bar Date Order established deadlines for filing claims by (a)any entity whose
claim arises out of the Court approved rejection.of an executory. contract or unexpired lease, in accordance with
section 365 of the Bankruptcy Code and pursuant to an order of the Court and (b) any entity in the event that
a Debtor amends or supplements its Schedules to reduce or reclassify such entity's claim. See Bar Date Order, at
 ~~ 6-7.


                                                        -4-
 NAI-1504285217v6
        8.          The Debtors' claims register reflects that as ofthe date hereof, approximately

976 ~ro~fs of clair~r~ (inciudii~g ~~•oofs ~f claim asserting an Administrative Claim) have been

filed, which the Debtors and their advisors are in the process of reviewing and reconciling.

        C.      The Misclassified Administrative Expense Claims

        9.          The claims identified on Exhibit 1 to the Proposed Order (collectively,

the "Misclassified Administrative Expense Claims") consist of: (a)two claims asserted by

prepetition customers ofthe Debtors for damages incurred under their contracts after the Petition

Date and (b) 27 claims that relate to or are asserted by parties that provided goods and/or

services to the Debtors prior to the Petition Date in connection with the construction of the

Debtors' unfinished PTA/PET manufacturing facility in Corpus Christi, Texas. The Debtors seek

to reclassify the Misclassified Administrative Expense Claims because, in each case, they

improperly assert an entitlement to administrative priority pursuant to section 503(b) of the

Bankruptcy Code.

                                         RELIEF REQUESTED

         10.        The Debtors request entry of an order, pursuant to sections 105(a)and 502(b) of

the Bankruptcy Code, Bankruptcy Rule 3007 and Local Rule 3007-1, in substantially the form of

the Proposed Order, reclassifying the Misclassified Administrative Expense Claims to the

classification set forth in the column labeled "Modified Classification Status" on Exhibit 1 to the

Proposed Order.

                                           BASIS FOR RELIEF

        A.          Applicable Standard for Objecting to Claims

         11.        Section 502(a) ofthe Bankruptcy Code provides that a filed proof of claim is

"deemed allowed, unless a party in interest ...objects." 1 l U.S.C. § 502(a). Section 1Q5(a)          -   --   --




                                                     -5-
 NAI-1504285217v6
provides that a bankruptcy court may "issue any order, process, or judgment that is necessary or

approp~°late to carry out t~~e pravisi~ns of[tl~e bankruptcy Cade]." 11 U.S.C. § 105(a).

        12.         When asserting a proof of claim against a bankrupt estate, a claimant must allege

facts that, if true, would support a finding that the debtor is legally liable to the claimant. In re

Allegheny Intl, Inc., 954 F.2d 167, 173 (3d Cir. 1992). Where the claimant alleges sufficient

facts to support its claim, its claim is afforded prima facie validity. Id. at 173. A party wishing

to dispute a claim's validity must produce evidence sufficient to negate the claim's prima facie

validity. Id. Once an objecting party produces such evidence, the burden shifts back to the

claimant to prove the validity of his or her claim by a preponderance of the evidence. Id. at 174.

       B.       Request to Reclassify the Misclassified Administrative Expense Claims

        13.         Section 503(b)(1) ofthe Bankruptcy Code provides that a party shall be entitled to

an administrative expense claim for "the actual, necessary costs and expenses of preserving the

estate ..." 11 U.S.C. § 503(b). In the Third Circuit, administrative expense claims generally

must "arise from a transaction with the debtor-in-possession ...[and] the consideration

supporting the claimant's right to payment[must be] beneficial to the debtor-in-possession in the

operation of the business." In Ne O'Brien EnvzNon. Energy, Inc., 1.81 F.3d 527, 532-33 (3d Cir.

1999)(citations omitted); see also In re Pinnacle Bands, Inc., 259 B.R. 46, 51 (Bankr. D. Del.

2001). The party asserting an administrative expense claim carries "the heavy burden of

demonstrating that the costs and fees for which it seeks payment provided an actual benefit to the

estate and that such costs and expenses were necessary to preserve the value of the estate assets."

In re O'Brien Environ. EneNgy, Inc., 181 F.3d at 533 (citation omitted). Indeed, the policy

underlying the grant of an administrative expense claim is to "encourage creditors to supply

necessary resources to debtors post-petition ...[and] the furtherance of this policy is diminished

where ...the creditor is asserting that its administrative claims arise as a result ofpre-petition

                                                    -6-
NAI-I 504285217v6
executory contracts ..." In re Grant Broad. ofPhzladelphia, Inc., 71 B.R. 891, 898(Bankr. E.D.

Pa. 1987).

         14.       The holders of the Misclassified Administrative Expense Claims have failed

(a) to demonstrate how they provided a benefit to, or preserved the assets of, the Debtors' estates

and/or (b)to identify a postpetition transaction with the Debtors that would give rise to an

Administt•ative Claim. See, e.~;., In Ne Trans World Airlines, Inc., 275 B.R. 712, 724(Bankr. D.

Del. 2002)("There was no post-petition transaction or relationship between the [d]ebtor and [the

claimant] which would elevate [claimant]'s claims from mere breaches of apre-petition contract

to breaches of apost-petition contract entitled to administrative status. [Claimant] conveyed no

benefit on the [d]ebtor or its estate by continuing to use the [d]ebtor's trademark and logos under

the [agreement], it benefitted itself."). Because the Misclassified Administrative Expense Claims

— to the extent valid —arise from prepetition transactions with the Debtors and provided no

benefit to the Debtors' estates postpetition, they ai~e not entitled to administrative expense status.

Accordingly, the Debtors seek to reclassify the Misclassified Administrative Expense Claims as

set forth in the column labeled "Modred Classification Status" on Exhibit 1 to the Proposed

Order.

                         CERTIFICATION UNDER LOCAL RULE 3007-1

         15.       Pursuant to Local Rule 3007-1, the Debtors and their undersigned counsel certify

that this Objection substantially complies with Local Rule 3007-1. To the limited extent that this

Objection might not comply strictly with any requirement of Local Rule 3007-1 or Bankruptcy

Rule 3007, the Debtors and their counsel respectfully submit that any deviation is immaterial

and, on that basis, request that the Court waive the applicable requirement.




                                                  -7-
NAI-1504285217v6
                            RESPONSES TO OMNIBUS OBJECTIONS

        1G.        To contest this Objection, a party must(a)file a written response (a "Res once")

with the Office of the Clerk ofthe United States Bankruptcy Court for the District of Delaware at

824 N. Market Street, Wilmington, Delawat•e 19801, prior to 4:00 p.m.(Eastern Time)on

September 24, 2018 (the "Re~onse Deadline") and (b) serve such Response upon the following

entities, such that the Response is received no later than the Response Deadline, at the following

addresses (i) counsel to the Debtors, Jones Day,250 Vesey Street, New York, NY 10280,

Attn: Stacey L. Corr-Irvine, Esq.(scorrirvine@jonesday.com), 901 Lakeside Avenue, Cleveland,

Ohio 44114, Attn: Carl E. Black, Esq.(ceblack@jonesday.com), 1420 Peachtree Street, N.E.,

Suite 800, Atlanta, GA 30309-3053, Attn: Daniel J. Merrett, Esq.(dmerrett@jonesday.com) and

Pachulski Stang Ziehl &Janes LLP,919 North Market St., 17th Floor, Wilmington, Delaware

19801, Attn: Laura Davis Jones, Esq.(ljones@pszjlaw.com), James E. O'Neill, Esq.

(joneill@pszjlaw.com) and Joseph M. Mulvihill, Esq.(jmulvihill@pszjlaw.com);(ii) the Office

of the United States Trustee for the District of Delaware, 844 King St., Suite 2207, Wilmington,

Delaware 19801, Attn: Hannah McCollum, Esq.(Hannah.McCollum@usdoj.gov); and

(iii) counsel to the Committee, Milbank, Tweed, Hadley & McCloy LLP, 28 Liberty Street, New

York, NY 10005, Attn: Dennis F. Dunne, Esq.(ddunne@milbanlc.com) and Lauren Doyle, Esq.

(ldoyle@milbank.com) and Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington

Delaware 19801, Attn: J. Kate Suckles, Esq.(kstickles@coleschotz).

        17.        Every Response to this Objection. must contain at a minimum the following

information: (a) a caption setting forth the name ofthe Court, the name ofthe Debtors, the case

number, and the title ofthe Objection to which the Response is directed;(b)the name of the            ',

claimant, his/her/its claim number, and a description ofthe basis for the amount of the claim;



                                                   -8-
NAI-1504285217v6
(c) the specific factual basis and supporting legal argument upon which the party will rely in

op~asirig the Objection;(d) any supporting dacun~entation, to the extent that it vvas not incl~zded

with the proof of claim previously filed with the clerk or claims agent, upon which the party will

rely to support the basis for and amounts asserted in the respective proof of claim; and (e)the

name, address, telephone numbet~, email address, or fax number of the persons)(which may be

the claimant or the claimant's legal representative) with whom counsel for the Debtors should

communicate with respect to the claim or the Response and who possesses authority to reconcile,

settle, or otherwise resolve the objection to the disputed claim on behalf of the claimant.

         18.        If a claimant fails to file and serve a timely Response by the Response Deadline,

the Debtors may present to the Court an appropriate order reclassifying such claimant's claim in

accordance with the relief requested in this Objection and the exhibits hereto, without further

notice to such claimant or a hearing.

                                       REPLIES TO RESPONSES

         19.        Consistent with Local Rule 9006-1(d), the Debtors may, at their option, file and

serve a reply to any Response- one day prior to the deadline for filing the agenda on any hearing

to consider this Objection.

                                 SEPARATE CONTESTED MATTER

         20.        To the extent that a claimant files a response to any objection set forth herein and

 the Debtors are unable to resolve the response, each such claim and the objection by the Debtors

 to each such claim asserted herein, will constitute a separate contested matter as contemplated by

 Bankruptcy Rule 9014. Any order the Court enters that addresses any individual objection

 asserted in this Objection will be deemed a separate order with respect to each affected claim.




                                                     -9-
 NAI-1504285217v6
                                    RESERVATION OF RIGHTS

       21.         To the fullest extent permissible under bankruptcy Rule 34Q7 and Local

Rule 3007-1, the Debtors rese~•ve the right to object further to each of the Misclassified

Administrative Expense Claims on any and all additional factual and legal grounds. Nothing in

this Objection and/or the exhibits hereto shall be construed. as an admission of the amount,

priority and/or status of any claim.

                                                NOTICE

        22.        Notice of this Objection shall be given to (a)the Office of the United States

Trustee for the District of Delaware;(b)the Committee and its counsel Milbank, Tweed, Hadley

& McCoy LLP and Cole Schotz P.C.; and (c)the holders of the Misclassified Administrative

Expense Claims and their counsel, if known. The Debtors submit that no other or further notice

need be provided.




                                                   -10-
NAI-1504285217v6
        WHEREFORE,the Debtors respectfully request that the Court enter the Proposed Order

and grant such other and further relief as may be appropriate.

 Dated: September 10, 2018                         PACHULSKI STANG ZIEHL &JONES LLP

                                                                 m
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                                                   Co-Counsel for the Debtors and Debtors in
                                                   Possession




                                               -11-
NAI-1504285217v6
